Case 1:19-cr-20242-UU Document 24 Entered on FLSD Docket 07/08/2019 Page 1 of 8



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-20242-CR-UNGARO

 UNITED STATES OF AMERICA,

                    Plaintiff,

 vs.

 MEGHANA RAJADHYAKSHA,

                    Defendant.
                                    /

        UNOPPOSED MOTION FOR PRELIMINARY ORDER OF FORFEITURE AND
                 MEMORANDUM OF LAW IN SUPPORT THEREOF

            The United States of America, by and through the undersigned, Assistant United States

 Attorney, hereby moves for entry of a preliminary order of forfeiture pursuant to Federal Rule of

 Criminal Procedure 32.2(b)(2), 18 U.S.C. § 981(a)(1)(C), as incorporated by 28 U.S.C. § 2461(c),

 and the provisions of 21 U.S.C. § 853. The United States provides the following factual and legal

 basis:

       I.        FACTUAL BACKGROUND AND PROCEDURAL HISTORY

            1.      On April 30, 2019, the United States filed a Four-Count information against

 MEGHANA RAJADHYAKSHA (“Defendant”) charging her with mail fraud and sale of stolen

 goods, in violation of 18 U.S.C. §§ 1341 and 2315. Information, ECF No. 13.

            2.      The Information further alleged that, upon a conviction of a violation of 18 U.S.C.

 § 1341 or 2315, as alleged in Counts One through Four of the Information, the Government would

 seek to forfeit any property, real or personal, which constitutes or is derived from proceeds

 traceable to said violations and any property traceable to such property. Id. at Page 5.

                                                     1
Case 1:19-cr-20242-UU Document 24 Entered on FLSD Docket 07/08/2019 Page 2 of 8



        3.      On May 31, 2019, Defendant pled guilty to violations of 18 U.S.C. § 1341 and

 2315, as alleged in Counts One through Four of the Information, and agreed to forfeit all of her

 right title and interest in the following (collectively, “Subject Property”):

                a.      Balenciaga Leather Papier Large Tote with expandable side;

                b.      Balenciaga Leather Papier Large Tote with expandable side;

                c.      Balenciaga Medium Leather Tote;

                d.      Bottega Veneta Large Metallic Woven Nappa Hobo;

                e.      Bottaga Veneta Knot Clutch Soft Nappa Leather with Twist;

                f.      Bottaga Veneta Premium Nappa Leather w/Checkered Strap;

                g.      Celine Leather Tote;

                h.      Celine Leather Satchel;

                i.      Chloe Leather Faye Small Shoulder Bag;

                j.      Chloe Leather Nile Small Bracelet Bag;

                k.      Chloe Made in Spain Faye Small Shoulder;

                l.      Dolce & Gabbana Doce Box Bag in Nappa Leather;

                m.      Dolce & Gabbana Welcome Bag with Painted Flowers;

                n.      Dolce & Gabbana Logo Stamp Weekender;

                o.      Fendi Tote;

                p.      Fendi Kan I Pearl Chain Strap;

                q.      Fendi Kan I Whipstitch Chain Strap;

                r.      Fendi Tote;

                s.      Fendi Convertible Crossbody Clutch with chain;


                                                   2
Case 1:19-cr-20242-UU Document 24 Entered on FLSD Docket 07/08/2019 Page 3 of 8



             t.    Fendi Convertible Crossbody Clutch;

             u.    Fendi Mini Zaino Backpack;

             v.    Fendi Leather Crossbody;

             w.    Fendi Kan I Small Rafia Zucca Crossbody;

             x.    Fendi Leather Crossbody;

             y.    Fendi Kan I Shoulder;

             z.    Fendi Leather Crossbody;

             aa.   Fendi Kan I Calf Liberty Threading Ribbon Mix Color;

             bb.   Fendi Runaway Bag;

             cc.   Fendi Shoulder bag/Wallet on a chain;

             dd.   Fendi Kan I Liberty Crossbody;

             ee.   Givenchy Leather Medium Roy Bag;

             ff.   Givenchy Leather Medium Sway Bag;

             gg.   Givenchy Small Antigona in Grained Leather;

             hh.   Givenchy Leather Medium Sway Bag;

             ii.   Givenchy Small Antigona;

             jj.   Gucci Marmont small top handle;

             kk.   Gucci Small Marmont Shoulder Bag;

             ll.   Gucci Interlocking Leather with Chain;

             mm.   Gucci Logo Pattern Backpack;

             nn.   Gucci Backpack;

             oo.   Gucci Leather Padlock;


                                            3
Case 1:19-cr-20242-UU Document 24 Entered on FLSD Docket 07/08/2019 Page 4 of 8



               pp.     Saint Lauren Leather Medium Canvas Sac De Jour;

               qq.     Saint Laurent Classic Baby Sac;

               rr.     Saint Laurent Sac De Jour Baby in Grained Leather;

               ss.     Saint Laurent Leather Satchel;

               tt.     Saint Laurent Sac De Jour Small in Crocodile Suede;

               uu.     Saint Laurent Leather Medium Sac De Jour Tote;

               vv.     Saint Laurent Leather Sac De Jour Small Carryall;

               ww.     Saint Laurent Small Sac De Jour Embossed Calf Skin;

               xx.     Valentino Candystud Crossbody chain bag;

               yy.     Valentino Leather Medium Candystud Shoulder;

               zz.     Valentino Leather Candystud Cross Body;

               aaa.    Valentino Small Rockstud Metallic Polymer Spike Chain;

               bbb.    Valentino Rockstud Leather Chain Bag;

               ccc.    Valentino Medium Rockstud Spike Chain Metallic;

               ddd.    Valentino Rockstud Spike velvet shoulder bag;

               eee.    Valentino Leather Backpack;

               fff.    Valentino Large Leather Rockstud; and

               ggg.    Valentine Small Quilted Leather.

        Plea Agreement, ECF No. 22 at ¶ 1, Page 1, ¶¶ 8-9 Page 4-7.

        4.     Defendant further agreed to the entry of a forfeiture money judgment in the amount

 of $10,806.25. Id. at Paragraph ¶ 12, Page 7-8.

        5.     According to the Defendant’s Factual Proffer, from in or around November 2017


                                                   4
Case 1:19-cr-20242-UU Document 24 Entered on FLSD Docket 07/08/2019 Page 5 of 8



 through in or around March 2018, the Defendant ordered 69 luxury handbags on T.J. Maxx’s e-

 commerce website, www.tjmaxx.com. Factual Proffer, ECF No.20, at Page 1. When Defendant

 received the handbags, she removed the T.J. Maxx tags and affixed them to other non-luxury

 handbags not sold under the T.J. Maxx order numbers. Id. at Page 2. The Defendant then

 returned the non-luxury handbags to T.J. Maxx, and T.J. Maxx issued the Defendant refunds. Id.

          6.      On April 9, 2019, law enforcement seized 59 of the 69 luxury handbags from the

 Defendant’s residence. Id. at Page 3. The Defendant sold the remaining 10 handbags through

 an online consignment company and earned $10,806.25 in commission for these sales. Id.

    II.        LEGAL STANDARD

          Pursuant to 18 U.S.C. § 981(a)(1)(C), which is made criminally applicable by 28 U.S.C.

 § 2461(c), any property, real or personal, which constitutes or is derived from proceeds traceable

 to mail fraud violations of 18 U.S.C. § 1341 is subject to forfeiture. See 18 U.S.C. § 981(a)(1)(C);

 28 U.S.C. § 2461(c). If a defendant is convicted of such a violation, the Court “shall order the

 forfeiture of the property as part of the sentence.” See 28 U.S.C. § 2461(c). As part of the

 defendant’s sentence, criminal forfeiture is governed by the preponderance standard. See United

 States v. Hasson, 333 F.3d 1264, 1277 (11th Cir. 2003). See also Libretti v. United States, 516

 U.S. 29, 38-39 (1995) (holding that forfeiture is an “element of the sentence”).

          Upon finding that property is subject to forfeiture, the Court:

          . . . must promptly enter a preliminary order of forfeiture setting forth the amount of any
          money judgment, directing the forfeiture of specific property, and directing the forfeiture
          of any substitute property if the government has met the statutory criteria. The court must
          enter the order without regard to any third party’s interest in the property. Determining
          whether a third party has such an interest must be deferred until any third party files a claim
          in an ancillary proceeding under Rule 32.2(c).

 Fed. R. Crim. P. 32.2(b)(2)(A).

                                                    5
Case 1:19-cr-20242-UU Document 24 Entered on FLSD Docket 07/08/2019 Page 6 of 8




          A forfeiture order may be sought as a money judgment.                 See Fed. R. Crim. P.

 32.2(b)(1)(A), (2)(A). See also United States v. Padron, 527 F.3d 1156, 1161-62 (11th Cir. 2008)

 (holding that Federal Rules of Criminal Procedure “explicitly contemplate the entry of money

 judgments in criminal forfeiture cases”). Upon finding that property is subject to forfeiture, the

 Court:

             . . . must promptly enter a preliminary order of forfeiture setting forth the
             amount of any money judgment, directing the forfeiture of specific
             property, and directing the forfeiture of any substitute property if the
             government has met the statutory criteria.

 Fed. R. Crim. P. 32.2(b)(2)(A).

 III.     DISCUSSION

          Based on the Defendant’s guilty plea, the contents of her factual proffer, and her consent

 to forfeiture of the property, the Court should find that the requisite nexus has been met between

 the Subject Property and the requested forfeiture money judgment and the offenses to which the

 Defendant has pled guilty.

          In accordance with Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure, the

 proposed preliminary order of forfeiture provides for the forfeiture of the Subject Property to the

 United States; for the entry of a forfeiture money judgment in the amount of $10,806.25; for the

 inclusion of the order of forfeiture as part of the defendant=s judgment and sentence and judgment

 in this cause; provides for discovery, by the United States, if necessary in order to locate the

 Subject Property or to expedite ancillary proceedings for the adjudication of third party petitions,

 and for the final forfeiture of the Subject Property, if no petitions are filed.

          As required by Rule 32.2(b)(4)(B), the United States further requests that the Court include


                                                    6
Case 1:19-cr-20242-UU Document 24 Entered on FLSD Docket 07/08/2019 Page 7 of 8



 the forfeiture when orally announcing the sentence, and include the forfeiture order in the

 judgment. See United States v. Kennedy, 201 F.3d 1324, 1326 (11th Cir. 2000) and Fed. R. Crim.

 P. 32.2(b)(4)(A) and (B).

                                          CONCLUSION

        Accordingly, based upon the foregoing, and other matters of record in these proceedings,

 the United States respectfully requests the entry of the attached proposed preliminary order of

 forfeiture forfeiting to the United States the Subject Property, entering a forfeiture money

 judgment, and providing for further proceedings as may be necessary to effect entry of a final order

 of forfeiture in accordance with Fed. R. Crim. P. 32.2(c)(2) and the applicable provisions of 21

 U.S.C. § 853.


                                                      Respectfully submitted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY

                                               By:    /s/ Nicole Grosnoff
                                                      Nicole Grosnoff
                                                      Assistant United States Attorney
                                                      Court ID No. A5502029
                                                      nicole.s.grosnoff@usdoj.gov
                                                      U.S. Attorney’s Office
                                                      99 Northeast Fourth Street, 7th Floor
                                                      Miami, Florida 33132-2111
                                                      Telephone: (305) 961-9294
                                                      Facsimile: (305) 536-4089




                             LOCAL RULE 88.9 CERTIFICATION


                                                  7
Case 1:19-cr-20242-UU Document 24 Entered on FLSD Docket 07/08/2019 Page 8 of 8



        The undersigned counsel hereby certifies that on June 24, 2019, at approximately 4:16 pm

 and July 5, 2019 at approximately 4:03 pm, counsel for the United States contacted, via e-mail,

 defense counsel, regarding the United States’ Motion for Preliminary Order of Forfeiture, and on

 July 5, 2019, defense counsel informed the undersigned via the telephone that he had no objection

 to the motion. .

                                             s/ Nicole Grosnoff
                                      Nicole Grosnoff
                                             Assistant United States Attorney

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 8, 2019, the foregoing document was electronically

 filed with the Clerk of the Court using CM/ECF.

                                                     /s/ Nicole Grosnoff
                                                     Nicole Grosnoff
                                                     Assistant United States Attorney




                                                8
